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                                               08/23/24Page
                                                          Page
                                                            1 of17of 7




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                                                                    Lawyers 2024 Page
                                                                                    Page
                                                                                      2 of27of 7




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                                                               MARCH 26, 2024, 10:00 AM




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                                            he U.S. legal services market is a massive and growing sector—a more than
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                                            And for individuals, startups and big businesses seeking an attorney, it goes
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                                The inaugural list of America's Top 200 Lawyers highlights the finest practitioners in
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                                The elite lawyers on this list were selected through a rigorous, multi-stage process of
                                researching, evaluating and rating thousands of candidates, conducted by an editorial
                                team with broad experience in law practice and the legal marketplace.

                                The result is a collection of top lawyers involved in the most consequential cases, deals
                                or legal trends in recent years—whether litigation, tech, transactional, intellectual
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                                best in the business.

                                What follows is a power list of lawyers whose skill, passion and purpose set them apart
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                                                                      Lawyers 2024 Page
                                                                                      Page
                                                                                        3 of37of 7




               FIRM: KAPLAN HECKER & FINK LLP


               “Becoming a great lawyer requires that you be courageous, press boundaries wherever you are, and insist that things can always change for the better.”

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                                                                       Lawyers 2024 Page
                                                                                       Page
                                                                                         4 of47of 7




               FIRM: SIDLEY AUSTIN LLP


               “Shaping our industry in a changing legal environment is paramount. Our business is deeply rooted in the service culture.”

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                                                                           08/23/24
                                                                       Lawyers 2024 Page
                                                                                       Page
                                                                                         5 of57of 7




               FIRM: QUINN EMANUEL URQUHART & SULLIVAN LLP

               “If you want to be successful, you have to distinguish yourself in some way. You have to be out there, because you aren’t going to connect to anyone staying home and watching TV. As
               Jay-Z said, ‘Keep showing up.’ ”



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                                                                           08/23/24
                                                                       Lawyers 2024 Page
                                                                                       Page
                                                                                         6 of67of 7
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               FIRM: BEN CRUMP LAW


               “Doing the kind of justice work I do . . . doesn’t mean you have to take a vow of poverty. You can do good and still do well in life.”



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                                                                      Lawyers 2024 Page
                                                                                      Page
                                                                                        7 of77of 7
               VIEW PROFILE




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